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    NOVATION VENTURES, LLC
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  8
                              UNITED STATES DISTRICT COURT
  9
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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 11
      NOVATION VENTURES, LLC,               Case No. 2:15-cv-00954
 12
                 Plaintiff,                 PLAINTIFF’S NOTICE OF
 13                                         INTERESTED PARTIES
           vs.
 14
    THE J.G. WENTWORTH COMPANY,
 15 LLC, a Delaware limited liability
    company, formerly known as JGWPT
 16 HOLDINGS, LLC; THE J.G.
    WENTWORTH COMPANY, a
 17 Delaware corporation, formerly known
    as JGWPT, INC.; J.G. WENTWORTH
 18 S.S.C. Limited Partnership, a Nevada
    limited partnership; and PEACH
 19 HOLDINGS, LLC, a Delaware limited
    liability company dba PEACHTREE
 20 FINANCIAL SOLUTIONS,
 21              Defendants.
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Case 2:15-cv-00954-BRO-PJW Document 4 Filed 02/10/15 Page 2 of 2 Page ID #:23




  1 TO THE HONORABLE COURT, ALL PARTIES, AND THEIR COUNSEL OF
  2 RECORD:
  3             Pursuant to Central District Local Rule 7.1-1, the undersigned counsel of
  4 record for Plaintiff Novation Ventures, LLC certifies that the following listed party
  5 has a direct, pecuniary interest in the outcome of this case. This representation is
  6 made to enable the Court to evaluate the possible disqualification or recusal:
  7                       PARTY                            CONNECTION/INTEREST
  8             Novation Ventures, LLC                               Plaintiff
  9
 10
 11 Dated: February 10, 2015                 BLECHER COLLINS
                                             PEPPERMAN & JOYE, P.C.
 12
                                             MAXWELL M. BLECHER
 13                                          COURTNEY A. PALKO
 14
 15
                                             By:         /s/ Maxwell M. Blecher
 16
                                                       Maxwell M. Blecher
 17                                                Attorneys for Plaintiff
                                                   Novation Ventures, LLC
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